   Case
Name     2:85-cv-04544-DMG-AGR Document 102 Filed 02/03/15 Page 1 of 1 Page ID #:1636
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                                     UNITED STATES DISTRICT COURT
                                    CENTRAL DISTRICT OF CALIFORNIA
                                                            CASE NUMBER:
Jenny Lisette Flores, et al.                                CV 85-4544-RJK(Px)
                                             PLAINTIFF(S)
                               v.
Jeh Johnson, Secretary, U.S. Department of Homeland                  AMENDED NOTICE OF
Security, et al.                                                     MANUAL FILING OR LODGING
                                           DEFENDANT(S).

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Unredacted versions of Exhibits 12-15; 18-20; and 38-52, Conditionally Filed Under Seal in Support of
Plaintiffs' Motion for Class-Wide Enforcement of Settlement

Unredacted versions of these Exhibits will be served on Defendants




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Febraury 3, 2015                                              Carlos Holguin
 Date                                                         Attorney Name
                                                              Plaintiffs
                                                              Party Represented
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